Case 2:04-cr-20119-SH|\/| Document 72 Filed 06/13/05 Page 1 of 2 Page|D 102

Fli.E{J l?»`z` d)€e/ 001

IN THE UNITED s'rATEs DISTRICT coURT ---~~--~
FoR THE wEsTERN DISTRICT oF TENNESSEE
ca E;
wEsTERN DIVISION 05.:1.~\§ 13 PH q \1.0

 

 

UNITED STATES OF AMERICA,
Plaintiff,

CR. NO. O4~20243-Ma
04-20119~Mav//

VS.

RONDA WHITE,

`._.__._..,...,-._¢~_,,~_-~.._r~_~

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period, from May 3l, 2005 through. July l5, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

lEV/\

IT IS SO ORDERED this day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Tmsdocumentenwredonthedocketsheeti compfanca
with mile 55 and/or aa(b) sach an é-' lfg f O§

 

   

UNITED TEATS DISTRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CR-201 19 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103--238

Honorable Samuel Mays
US DISTRICT COURT

